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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §            CRIMINAL NO. H-06-181
                                                   §
JORGE RUIZ a/k/a CHOCHA a/k/a J                    §


                            ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. I conclude that the following facts are established by a preponderance of the evidence or clear
and convincing evidence and require the detention of the above-named defendant pending trial in
this case.

                                           Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

     [ ] (1)     The defendant has been convicted of a (federal offense) (state or local offense that
                 would have been a federal offense if a circumstance giving rise to federal jurisdiction
                 had existed) that is

                      []     a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                      []     an offense for which the maximum sentence is life imprisonment or
                             death.

                      []     an offense for which a maximum term of imprisonment of ten years or
                             more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                             ( ) § 955(a).

                      []     a felony that was committed after the defendant had been convicted of
                             two or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                             (A)-(C), or comparable state or local offenses.

          [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                  pending trial for a federal, state or local offense.

          [ ] (3) A period of not more than five years has elapsed since the (date of conviction)
                  (release of the defendant from imprisonment) for the offense described in finding 1.
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        [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
                combination of conditions will reasonably assure the safety of any other person and
                the community. I further find that the defendant has not rebutted this presumption.

[X ]    B.        Findings of Fact [18 U.S.C. § 3142(e)]

        [X] (1)       There is probable cause to believe that the defendant has committed an offense

                      [X]    for which a maximum term of imprisonment of ten years or more is
                             prescribed in 21 U.S.C.
                             (X) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                      []     under 18 U.S.C. § 924(c).

        [X] (2)       The defendant has not rebutted the presumption established by finding 1 that no
                      condition or combination of conditions will reasonably assure the appearance of
                      the defendant as required and the safety of the community.

[X]     C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

        [X] (1) Defendant is accused of possessing and distributing and conspiracy to possess and
               distribute over 1,000 kilograms of marijuana, a Schedule 1 controlled substance, and
               money laundering.

        [X] (2) There is a serious risk that the defendant will flee.

        [X] (3)        Defendant represents a danger to the community.

        [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
                (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X]     D.        Findings of Fact [18 U.S.C. § 3142(c)]

        [ ] (1) As a condition of release of the defendant, bond was set as follows:

        [ ] (2)

        [X] (3)       I find that there is no condition or combination of conditions set forth in 18
                      U.S.C. § 3142(c) which will reasonably assure the appearance of the defendant
                      as required.

        [X ] (4) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                    § 3142(c) which will reasonably assure the safety of any other person or the
                community.

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                            Written Statement of Reasons for Detention

       I find that the accusations in the Indictment, the information submitted in the Pretrial Services
Agency report, and information at the hearing establish by a preponderance of the evidence that no
condition or combination of conditions will reasonably assure the appearance of the defendant as
required and by clear and convincing evidence that no conditions will assure the safety of the
community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

       1.      Defendant is a 46 year old male United States citizen born in Houston, Texas. He is
               married and has three children, but has not been living with them for a while. He
               lives in his vehicle and various hotels. He has seven siblings living in Houston, two
               of whom are co-defendants in this case.

       2.      Defendant is charged with possession with intent to distribute and conspiracy to
               possess with intent to distribute 1,000 kilograms or more of Marijuana a Schedule
               I controlled substance, an offense having a penalty range of up to life imprisonment,
               and money laundering, an offense having a penalty range of up to 20 years
               imprisonment.

       3.      Defendant has multiple prior felony convictions for drug offenses, and two prior
               convictions for burglary. He was on supervised release at the time he was arrested
               on the current offenses. He admits to using marijuana and last used it as recently as
               a week ago. Defendant has used numerous aliases.

       4.      Defendant has not rebutted the statutory presumption that he is a flight risk and a
               danger to the community.

       5.      There is no condition or combination of conditions of release which would assure the
               appearance of the defendant in court or the safety of the community. Detention is
               ordered.




                                   Directions Regarding Detention

       It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending

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appeal. The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United
States Marshal for the purpose of an appearance in connection with all court proceedings.


       Signed at Houston, Texas, on February 9, 2007




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